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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION


  CS BUSINESS STSTEMS, INC., et al.,

         Plaintiffs,

  v.                                                 CASE NO.: 5:17-cv-86-OC-40-PRL

  DWIGHT C. SCHAR, et. al.,

       Defendants.
  __________________________________/


                 POA DEFENDANTS’ RESPONSE IN OPPOSITION TO
                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Defendants, Bella Collina Property Owners Assoc., Inc. (“POA”), David Burman,

 Aegis Community Management Solutions, Inc. (“Aegis”), Randall F. Greene, Keith Clarke,

 and Paul Lebreux (collectively, “POA Defendants”), by and through undersigned counsel,

 file this Response in Opposition to Plaintiffs’ Motion for Preliminary Injunction (Dkt. 167,

 “Plaintiffs’ Motion”). The POA Defendants respectfully request the Court deny Plaintiffs’

 Motion because (1) the Court should abstain from exercising jurisdiction pursuant to

 Younger v. Harris, 401 U.S. 37 (1971); (2) the Complaint fails to state a cause of action

 for alleged violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”),

 18 U.S.C. § 1962, and a substantial likelihood of success on the merits cannot be shown

 where no cause of action has been stated; (3) the motion fails to comply with the Local

 Rules; and (4) the motion should be denied on the merits.

                                     INTRODUCTION

        This action was filed on March 2, 2017, by several property owners in Bella Collina,

 a planned residential community in Montverde, Florida. The Complaint attempts to assert
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 a variety of claims for, among other things, alleged violations of RICO (Count I) and the

 analogous Florida RICO statute (Count II).

           The Complaint is not a model of clarity. Nevertheless, it is evident that Plaintiffs’

 claims are based on an alleged conspiracy between Defendants, or at least some

 Defendants, to control the POA to the detriment of the property owners. Defendants

 allegedly failed to timely turn over the POA to the owners; unreasonably amended the

 POA’s governing documents (“CC&Rs”), which are alleged to be invalid since August 29,

 2005; and pursued hundreds of lawsuits to collect unpaid assessments based on the

 allegedly invalid CC&Rs. The Complaint contains sections describing the state court

 proceedings and numerous “representative conspiracy actions.”

           The individual POA Defendants are four former and current members of the POA’s

 board of directors. Aegis is the community association manager for Bella Collina. All of

 the Defendants have moved to dismiss the Complaint. The POA Defendants now file this

 response in opposition to Plaintiffs’ Motion and request that the Court deny the motion.

                                          DISCUSSION

      I.      The Court should abstain from exercising jurisdiction pursuant to
              Younger v. Harris, 401 U.S. 37 (1971)

           Plaintiffs’ claims in this case are based on the incorrect premise that amendments

 to the CC&Rs are somehow illegal, the POA’s actions are illegal and invalid because the

 POA was not properly turned over to the owners, and that it is somehow illegal for the

 POA to collect past due assessments and/or Bella Collina Club dues. These issues have

 been litigated in state court and, as discussed in Dkt. 35, 48, 127, 141, and 148, are the

 subject of prior state court orders.




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        On December 20, 2017, Florida Fifth Judicial Circuit Judge G. Richard Singeltary

 entered additional orders in the related state court cases against both of the moving

 Plaintiffs, CS Business Systems, Inc. (“CSBS”), and James L. Shelton (collectively, the

 “Moving Plaintiffs”). Judge Singeltary granted the POA summary judgment on claims

 related to the collection of delinquent Bella Collina Club dues and found that James and

 Virginia Shelton owe $81,979.14 plus attorney’s fees and costs, and CSBS owes

 $390,341.04 plus attorney’s fees and costs. Exhibits A, B. Judge Singeltary also found

 that: (1) the CC&Rs “clearly and unambiguously set out the nature and scope of [CSBS’s

 and the Sheltons’] duty to pay Assessments for Delinquent Club Charges;” Exhibit A, ¶ 5;

 Exhibit B, ¶ 5; (2) “the Association has the right and obligation to collect delinquent club

 Charges;” Exhibit A, ¶ 6; Exhibit B, ¶ 6; (3) amendments to the CC&Rs were recorded

 before the date of the recording of the deeds of the Sheltons and CSBS and the Sheltons

 and CSBS “had actual and/or constructive notice of the contractual provision[s]” of the

 CC&Rs; Exhibit A, ¶ 8; Exhibit B, ¶ 8; and (4) the Sheltons and CSBS failed to establish

 fraud or illegality of the CC&Rs. Exhibit A, ¶¶ 12, 14; Exhibit B, ¶¶ 12, 14.

        The Moving Plaintiffs have ongoing state court cases before Judge Singeltary that

 have been pending for five years. As Mr. Shelton recently testified, (1) “issues relating to

 the club assessments, the POA assessments and the amendments to the CC&Rs have

 been the subject of state court litigation;” James Shelton Deposition, 55:23 – 56:2,

 attached as Exhibit C; (2) Judge Singeltary denied Plaintiffs’ request for a receiver and

 held that all board actions of the POA from 2005 to 2016 were valid; id. at 55:23 – 57:2;

 and (3) Mr. Shelton is “trying to relitigate those issues in this case” and is “essentially

 appealing [Judge Singeltary] to the Fifth DCA and to the Middle District of Florida”



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 because “we think [Judge Singeltary is] wrong.” Id. at 57:3-8. Judge Singeltary’s orders,

 including the orders entered on December 20, 2017, involve important state interests,

 Plaintiffs’ requested injunctive relief would interfere with proceedings before Judge

 Singeltary, and it is improper for Plaintiffs to attempt to relitigate and appeal Judge

 Singeltary’s orders in this Court.

             The Younger abstention doctrine enjoins federal courts from interfering with

 pending state proceedings “when the moving party has an adequate remedy at law and

 will not suffer irreparable injury if denied equitable relief.” Younger v. Harris, 401 U.S. 37,

 43-44 (1971). For the reasons discussed supra and in Dkt. 35, 48, 127, 141, and 148,

 the Court should abstain from exercising jurisdiction over Plaintiffs’ claims pursuant to

 Younger v. Harris, 401 U.S. 37 (1971).1

       II.      The Court should dismiss Plaintiffs’ RICO claims and deny Plaintiffs’
                Motion because the Complaint fails to state a claim for relief and Plaintiffs
                cannot show a substantial likelihood of success when they have not
                stated a claim

             Plaintiffs’ Motion is premised on the alleged RICO violations in Counts I and II of

 the Complaint. See Plaintiffs’ Motion, p. 15. For the reasons discussed in Dkt. 48, Counts

 I and II fail to state a cause of action for RICO and should be dismissed. The POA

 Defendants incorporate by reference the arguments at Dkt. 48 and respectfully request




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   Younger abstention was raised in the POA Defendants’ Response to Plaintiffs’ Motion for Temporary
 Restraining Order and Preliminary Injunction (Dkt. 35), and in the POA Defendants’ Motion to Dismiss the
 Complaint (Dkt. 48). The POA Defendants raised Younger in their Response to Plaintiffs’ Motion for Class
 Certification (Dkt. 127), because Plaintiffs represented for the first time that the predominant relief sought
 in this action was injunctive or declaratory. The POA Defendants raised Younger in their Response to
 Plaintiffs’ Motion for Leave to File Amended Motion for Class Certification (Dkt. 141), because Plaintiffs’
 argued for the first time that “none of the potential class members have pursued litigation against the
 Defendants based upon the fraud, RICO and conspiracy allegations presented by Plaintiffs.” Dkt. 138-1,
 PageID 3203. The POA Defendants also raised Younger in response to Plaintiffs’ Amended Motion for
 Class Certification on the basis that Plaintiffs are not adequate class representatives. The POA Defendants
 incorporate by reference the arguments at Dkt. 35, 48, 127, 141, and 148 in support of Younger abstention.

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 the Court deny Plaintiffs’ Motion.           The Moving Plaintiffs cannot show a substantial

 likelihood of success on the merits of their RICO claims when the Complaint fails to state

 a claim upon which relief can be granted.

      III.      Plaintiffs’ Motion fails to comply with the Local Rules

             Plaintiffs’ Motion should be denied—like Plaintiffs’ first two requests for injunctive

 relief—for failure to comply with the Local Rules. See Dkt. 2, 42, 57. Specifically, the

 Local Rules require that a motion for preliminary injunction “be supported by allegations

 of specific facts shown in the verified complaint or accompanying affidavits … that the

 moving party is threatened with irreparable injury. Local Rule 4.05(b)(2), 4.06(b)(1).

 “Plaintiffs have not submitted a verified complaint,” Dkt. 42, p. 4, and the affidavits

 submitted by Plaintiffs fail to include specific facts to support injunctive relief.2 See Dkt.

 167-29, 169.

             The Moving Plaintiffs have submitted the Affidavit of James L. Shelton and the

 Affidavit of Michael I Choo in support of their motion. Both Mr. Shelton and Mr. Choo

 indicate that they have reviewed the Complaint, Motion for Preliminary Injunction, and the

 Memorandum attached to the Motion for Preliminary Injunction and that each “is true and

 correct to the best of my knowledge.” Dkt. 167-29, ¶¶ 5-8; Dkt. 169, ¶¶ 6-9. Nevertheless,

 neither Mr. Shelton nor Mr. Choo actually assert that they have actual personal

 knowledge as to the allegations or the arguments and representations in the Motion for

 Preliminary Injunction and Memorandum, nor can they. Similarly, Mr. Shelton and Mr.

 Choo both claim to have “personal knowledge of the internet campaign referenced in the


 2
  The Affidavit of Michael I Choo, Dkt. 169, also fails to comply with Local Rule 4.06(b)(2), because it was
 not served with Plaintiffs’ Motion. See Local Rule 4.06(b)(2) (“Service of all papers and affidavits upon
 which the moving party intends to rely must be served with the motion(Rule 6(c), Fed.R.Civ.P.).”).


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 Memorandum” and both assert that the “representations in the Memorandum are true and

 correct to the best of my knowledge.” Dkt. 167-29, ¶ 8, Dkt. 169, ¶ 9. These statements

 mean nothing—no specific facts are included in the affidavits, there is no indication of

 what constitutes the “internet campaign,” and, as discussed infra, the arguments in

 Plaintiffs’ Motion misrepresent the evidence and assume facts not supported by evidence.

 The remainder of Mr. Shelton’s and Mr. Choo’s affidavits fare no better. For example,

 Mr. Shelton and Mr. Choo both claim to “have been subjected to numerous intimidating

 actions by various Defendants” and that both “are in a constant fear of retaliation.” Dkt.

 167-29, ¶ 13; Dkt. 169, ¶ 13. These vague assertions are insufficient to establish any

 element of a RICO claim, let alone that irreparable injury will result absent an injunction.

 See Local Rule 4.05(b)(2).

        In similar fashion, Plaintiffs’ Motion fails to comply with Local Rule 4.05(b)(3)(ii),

 which requires a movant to “set forth facts on which the Court can make a reasoned

 determination as to the amount of security which must be posted pursuant to Rule 65(c),

 Fed.R.Civ.P.” Local Rule 4.05(b)(3)(ii). Under Rule 65(c), “[t]he court may issue a

 preliminary injunction … only if the movant gives security in an amount that the court

 considers proper to pay the costs and damages sustained by any party found to have

 been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c).

        The Moving Plaintiffs seek to enjoin “all Defendants from continuing to engage in

 ongoing activity consistent with racketeering, including,” among other things, “the

 exercise of authority of the offices of the Bella Collina Property Owner’s Association for

 threats, intimidation, and retaliatory lawsuits.” Plaintiffs’ Motion, pp. 1-2. The Moving

 Plaintiffs also seek to enjoin Mr. Greene from, among other things, “any participation in



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 the governance of the Bella Collina Property Owner’s Association.” Id. at pp. 24-25.

 Plaintiffs believe that there are “about 400 lawsuits” at issue and that, somehow, even

 Plaintiffs’ prosecution of this lawsuit is an act of coercion by Defendants. Complaint, ¶¶

 412, 493 (“The POA, DCS and Ginn and its officers and directors instituted the present

 action to coerce Plaintiffs into accepting the improper and illegal and practice [sic] of ….”).

 See also Dkt. 167, pp. 17-18. The Moving Plaintiffs have not set forth facts on which the

 Court can make a reasoned determination as to the amount of security which must be

 posted pursuant to Rule 65(c) and as required by Local Rule 4.05(b)(3)(ii), and this is not

 a case where it would be appropriate to waive the bond requirement. The Moving

 Plaintiffs seek to enjoin the POA’s involvement in unspecified lawsuits. Such an injunction

 would cause the POA substantial harm.

           Plaintiffs’ first two requests for temporary or preliminary injunctive relief were

 denied for failure to comply with the Local Rules. The Moving Plaintiffs’ third attempt

 fares no better and, again, fails to comply with Local Rule 4.05. The Court should

 therefore deny Plaintiffs’ Motion. See Dkt. 2, 42; Littlejohn v. CitiMortgage Inc., No. 3:15-

 CV-194-J-34, 2015 WL 789131, at *1 (M.D. Fla. Fed. 24, 2015).

     IV.      Plaintiffs’ Motion should be denied on the merits

                 a. Legal Standard

           The party seeking entry of a preliminary injunction must establish:

                 (1) a substantial likelihood of success on the merits; (2) that
                 irreparable injury will be suffered unless the injunction issues;
                 (3) the threatened injury to the movant outweighs whatever
                 damage the proposed injunction may cause the opposing
                 party; and (4) if issued, the injunction would not be adverse to
                 the public interest.




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 Four Seasons Hotels & Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th

 Cir. 2003) (citing Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)). “In this Circuit,

 ‘[a] preliminary injunction is an extraordinary and drastic remedy not to be granted unless

 the movant clearly established the burden of persuasion’ as to each of the four

 prerequisites.” Siegel, 234 F.3d at 1176 (quoting McDonald’s Corp v. Robertson, 147

 F.3d 1301, 1306 (11th Cir. 1998)) (internal quotations omitted). “The purpose of the

 preliminary injunction is to preserve the positions of the parties as best we can until a trial

 on the merits may be held.” Bloedorn v. Grube, 631 F.3d 1218, 1229 (11th Cir. 2011)

 (citing Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981)).

                b. The Moving Plaintiffs cannot show a substantial likelihood of
                   success on the merits

        Although the named plaintiffs are seeking to represent two classes of plaintiffs and

 argue that their claims are typical of the proposed classes, only two of the five named

 plaintiffs joined in Plaintiffs’ Motion. Moreover, despite this being the Moving Plaintiffs’

 third attempt at preliminary injunctive relief, it is still unclear exactly what relief is sought.

        The Moving Plaintiffs initially state that they seek

                to enjoin all Defendants from continuing to engage in ongoing
                activity consistent with racketeering, including: (1) ongoing
                extortion and embezzlement through the continued use of
                threats and malicious character assassination, (2) fraudulent
                use of the mails for the purpose of harassing and intimidating
                Plaintiffs and Bella Collina lot owners, (3) the interference with
                Plaintiff’s prosecution of this case through threats and
                intimidation, (4) the use of internet websites, telephonic
                services and mail services to attack Plaintiffs, Plaintiffs’
                counsel, their businesses, and their involvement in this
                lawsuit, and (5) the exercise of authority of the offices of the
                Bella Property Owner’s Association for threats, intimidation,
                and retaliatory lawsuits.




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               Plaintiffs’ Motion also seeks to enjoin Defendant Randall
               Greene from: (1) any participation in the governance of the
               Bella Collina Property Owner’s Association, (2) continuing
               acts of racketeering, including threats of violence and
               defamation against Plaintiffs and Plaintiffs’ counsel, an officer
               of the Court, and (3) the use of internet websites, telephonic
               services and mail services to attack Plaintiffs, their
               businesses, and their involvement in this lawsuit.

 Plaintiffs’ Motion, pp. 1-2. On the following page of the motion, the Moving Plaintiffs

 state that they seek to enjoin “the following malicious actions:”

               1. Preoccupy and degrade Plaintiffs’ Counsel with derogatory
               internet postings on a website created explicitly for this
               purpose to viciously attack and malign Plaintiffs’ counsel, E.
               Timothy McCullough … to destroy the attorney-client
               relationship and relationships with other potential law firms;
               and

               2. Intimidate named Plaintiffs and [Plaintiffs’ counsel] with
               frequent, anonymous mailings, phone calls and text
               messages that are intended to frighten them and to
               compromise the Plaintiffs’ relationship with their attorney.

 Id. at p. 3. In their conclusion, the Moving Plaintiffs state that they

               seek to enjoin Defendant, Randall Greene, from:

               (1) any participation in the governance of the Bella Collina
               Property Owner’s Association,

               (2) continuing acts of racketeering, including threats of
               violence and defamation against Plaintiffs and Plaintiffs’
               counsel, an offer of the Court,

               (3) continuing the use of any website that is utilized to
               disparage Plaintiffs and their counsel, including the Pissed
               Consumer site and the EIN site, and

               (4) the use of internet websites, telephonic services and mail
               services to attack Plaintiffs, their businesses, and their
               involvement in this lawsuit.

               Plaintiffs also seek to enjoin each Defendant from:



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                (1) continuing acts of racketeering, including threats of
                violence and defamation against Plaintiffs and Plaintiffs’
                counsel, an officer of the Court[,]

                (2) Continuing the use of any website that is utilized to
                disparage Plaintiffs and their counsel, and

                (3) Continuing the use of internet websites, telephonic
                services and mail services to attack Plaintiffs, their
                businesses, and their involvement in this lawsuit.

  Id. at pp. 24-25. Finally, in their proposed order, the Moving Plaintiffs propose the

  following order:

                2.      Defendant, Randall Greene, is ENJOINED from any
                participation in the governance of the Bella Collina Property
                Owner’s Association.

                3.     Defendant, Randall Greene, is ENJOINED from
                maintaining or directing the posting of any defamatory and/or
                violent comments on any forum, including the internet,
                regarding any Plaintiff in this proceeding and any counsel for
                any Plaintiff in this proceeding. The comments on the website
                in question that were made by Randall Greene or directed by
                Randall Greene shall be removed within twenty-four (24)
                hours of the rendering of this Order.

                4.     Defendant, Randall Greene, is ENJOINED from using
                any mail service, and directing another to use any mail
                service, for the purpose of sending anonymous mailings to
                any Plaintiff in this proceeding for any reason.

                5.     Any individual Defendant and all persons in active
                concert or participation with Defendant Randall Greene to
                propagate the activity described in Paragraph 3 & 4 of this
                Order is ENJOINED from further doing so.

  Regardless of the exact relief sought, the Moving Plaintiffs have not satisfied their burden

  of persuasion.

         Plaintiffs’ Motion is premised on the alleged RICO violations in Counts I and II of

  the Complaint. See Plaintiffs’ Motion, p. 15. RICO makes it “unlawful for any person



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  employed by or associated with any enterprise engaged in, or the activities of which affect,

  interstate or foreign commerce, to conduct or participate, directly or indirectly, in the

  conduct of such enterprise's affairs through a pattern of racketeering activity or collection

  of unlawful debt.” 18 U.S.C. § 1962(c).3 To succeed on their claim, the Moving Plaintiffs

  must prove “three essential elements: (1) a violation of section 1962; (2) injury to business

  or property; and (3) that the violation caused the injury.” Avirgan v. Hull, 932 F.2d 1572,

  1577 (11th Cir. 1991) (citing O’Malley v. O’Neill, 887 F. 2d 1557, 1561 (11th Cir. 1989)).

  To establish a violation of § 1962(c), the Moving Plaintiffs must prove “(1) conduct (2) of

  an enterprise (3) through a pattern (4) of racketeering activity.” Sedima v. Imrex Co., 473

  U.S. 479, 496 (1985). The Moving Plaintiffs have not demonstrated a likelihood of

  success on any of these elements.

                      i.       The Moving Plaintiffs have not identified the alleged
                               enterprise, let alone provided sufficient evidence to establish
                               the alleged enterprise

          An “enterprise” is defined under RICO to include “any individual, partnership,

  corporation, association, or other legal entity, and any union or group of individuals

  associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). A “union or group of

  individuals associated in fact although not a legal entity” is “more challenging” to establish

  than “the simple case” where “the enterprise is an ‘individual, partnership, corporation,

  association, or other legal entity.’” Almanza v. United Airlines, Inc., Case No. 16-11048,

  2017 U.S. App. LEXIS 4377, at *15 (11th Cir. Mar. 13, 2017) (quoting 18 U.S.C. §


  3
   Plaintiffs’ Motion does not cite to the RICO statute, 18 U.S.C. § 1962, nor does it specify which section of
  § 1962 is at issue. The Moving Plaintiffs have also refused to identify in discovery which of the four sections
  of § 1962 are at issue. See Plaintiff CS Business System, Inc.’s Response to Interrogatories, No. 12,
  attached as Exhibit D; Plaintiff James L Shelton’s Response to Interrogatories, No. 12, attached as Exhibit
  E. The Moving Plaintiffs cannot show a substantial likelihood of success on the merits where they cannot
  even identify what section of 18 U.S.C. § 1962 is at issue.

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  1961(4)). Here, the Complaint relies on the more challenging “association-in-fact” form.

  See Complaint, ¶ 410.

          “[A]n association-in-fact enterprise is ‘a group of persons associated together for

  a common purpose of engaging in a course of conduct.’” Boyle v. United States, 556

  U.S. 938, 946 (2009) (quoting United States v. Turkette, 452 U.S. 576, 583 (1981)). “An

  association-in-fact enterprise must have a structure. … [with] three structural features: a

  purpose, relationships among those associated with the enterprise, and longevity

  sufficient to permit these associates to pursue the enterprise’s purpose.” Id.

          The Complaint alleges that “Defendants constitute an associated-in-fact

  Enterprise,” Complaint, ¶ 410, and the Moving Defendants argue that they have gone

  “above and beyond in identifying the enterprise.” Plaintiffs’ Motion, p. 21. Despite this

  representation, most of the Defendants are not even mentioned in Plaintiffs’ Motion, and

  it is entirely unclear who or what constitutes the alleged enterprise. Mr. Shelton testified

  that “[t]he enterprise is the POA” and he was unaware that the Complaint alleges anything

  different; James Shelton Deposition, 56:6 – 57:12, 253:4-12; the Complaint alleges an

  association-in-fact enterprise; Complaint, ¶ 410; and the Moving Plaintiffs now argue that

  “the conspiracy utilized the POA board as an enterprise as well as operated as an

  association-in-fact enterprise.” Plaintiffs’ Motion, p. 21. Similarly, the Complaint and

  Plaintiffs’ Motion do not adequately identify the alleged conspiracy or conspirators at

  issue;4 see Complaint, ¶¶ 59-81; Plaintiffs’ Motion, pp. 17-20; and Mr. Shelton cannot




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    The Moving Plaintiffs also cite “A statement by Bill Boylan” as evidence in support of an alleged agreement
  to conspire. Plaintiffs’ Motion, p. 16; Dkt. 167-17. This statement is not executed, it does not reflect its
  author, and it is not sufficient to support a motion for preliminary injunction. See Local Rule 4.05(b)(2).

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  even identify whether there are one or more conspiracies at issue in this case. See James

  Shelton Deposition, 251:23 – 252:3.

         Accordingly, the Moving Plaintiffs have not established a likelihood of success on

  the merits of their RICO claims because they have not provided any evidence to support

  a finding that an enterprise exists, and they have failed to even identify who or what

  constitutes the alleged enterprise.

                   ii.    The Moving Plaintiffs have not established, and they have not
                          shown a substantial likelihood of establishing, the existence
                          of a pattern of racketeering activity

         “To successfully allege a pattern of racketeering activity, plaintiffs must charge

  that: (1) the defendants committed two or more predicate acts within a ten-year time span;

  (2) the predicate acts were related to one another; and (3) the predicate acts

  demonstrated criminal conduct of a continuing nature.”               Jackson v. BellSouth

  Telecomms., 372 F.3d 1250, 1264 (11th Cir. 2004) (emphasis in original). “Racketeering

  activity” means the violation of any of the criminal statutes set forth in § 1961(1)(B), which

  include the statutes criminalizing mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C.

  § 1343). See 18 U.S.C. § 1961(1). “The continuity element of a pattern of racketeering

  activity is crucial to a valid RICO claim in order to ensure that the crime alleged is the sort

  of offense that RICO is designed to address--one that is part of a pattern of ongoing,

  continuing criminality or that involves criminality that promises to continue into the future.”

  Jackson, 372 F.3d at 1265.

         The elements of each alleged predicate act must be plead with particularity under

  Rule 9(b) as against each Defendant, see Ambrosia Coal & Constr. Co. v. Morales, 482

  F.3d 1309, 1317 (11th Cir. 2007), and the Moving Plaintiffs must establish their claims as


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  to each Defendant. That has not been done here, and the Moving Plaintiffs cannot show

  the existence of two or more predicate acts, let alone that multiple predicate acts were

  related and of a continuing nature.

         The Moving Plaintiffs believe that hundreds of state court lawsuits were illegal

  because they

                 were predicated upon false assessments created by the DCS-
                 controlled POA board (which was possible because the POA
                 was never turned over as required by Florida law), deflated lot
                 values through the creation of false comparables, and
                 immense pressure placed on the lot owner by DCS to settle
                 the lawsuit that was filed against them by the POA, effectively
                 extorting lots that would be conveyed to DCS and not the POA
                 that was suing for them.

  Plaintiffs’ Motion, pp. 17-18. The Moving Plaintiffs argue that they have shown the

  existence of a pattern of racketeering activity because they alleged such in the Complaint

  and because there exists the following

                 substantive RICO violations in the instant case: decimated the
                 lot values of Plaintiffs; greatly diminished the value of the
                 community that Plaintiffs collectively spent millions to buy into;
                 forced Brad and Lana Heckenberg to convey their lots to DCS
                 while being intimidated into silence by virtue of a settlement
                 agreement with exorbitant liquidated damages for merely
                 speaking about the litigation; seek to deprive CSBS and the
                 Sheltons of their lots; subjected Plaintiffs to derogatory
                 internet postings and websites created solely for that purpose;
                 including multiple threats of violence; mailed and physically
                 stuffed, into their home mailboxes, intimidating unmarked
                 letters addressed directly to the named Plaintiffs in this case;
                 and have sent numerous text messages and made phone
                 calls to the personal cell phone of the undersigned.

  Id. at p. 22. None of these arguments are supported by any evidence, and the Moving

  Plaintiffs have failed to identify or explain how any specific criminal statute was violated.




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          First, the Moving Plaintiffs have not provided any evidence of “false assessments,”

  “false comparables,” or using “immense pressure” to settle lawsuits. The Moving Plaintiffs

  complain—without providing any competent evidence—that many Bella Collina owners

  settled state court lawsuits for the collection of assessments and that the settlements

  were somehow improper because the assessments were illegal. Nevertheless, neither

  of the Moving Plaintiffs have settled a lawsuit with the POA. Judge Singeltary’s December

  20, 2017 orders also confirm that the POA “has the right and obligation to collect

  delinquent club Charges,” and that the collection of assessments from the Moving

  Plaintiffs was not improper.5 Exhibit A, ¶ 6; Exhibit B, ¶ 6. It is also unclear how “immense

  pressure” to settle a lawsuit—if proven—could be construed as a criminal violation or

  predicate act under the RICO statute. The Moving Plaintiffs have not identified the

  criminal statute alleged violated, and Florida does not even recognize an independent

  cause of action for economic duress. Rothis v. M & I Marshall & Isley Bank, No. 8:10-cv-

  446-T-23EAJ, 2010 U.S. Dist. LEXIS 109074, at *16 (M.D. Fla. Sep. 29, 2010).

          There is also no evidence that any of the Defendants had a negative impact on the

  value of property in Bella Collina. To the contrary, Mr. Shelton testified that the great

  recession was a “catastrophe for Central Florida real estate,” that property values in Bella

  Collina dropped by as much as 90 percent due to the great recession, and that values

  have increased since DCS took over. James Shelton Deposition, 20:5-10, 30:6-16.

  Plaintiffs cannot establish that any of the Defendants “decimated the lot values of




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    To the extent the Moving Plaintiffs are attempting to seek preliminary injunctive relief on behalf of anyone
  other than themselves, the POA Defendants incorporate by reference the arguments at Dkt. 148 in
  response to Plaintiffs’ Amended Motion for Class Certification.

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  Plaintiffs,” nor have they even tried to explain how this conclusory argument would

  support a finding of a criminal violation or predicate act.

         The Moving Plaintiffs argue that Brad and Lana Heckenberg were forced “to

  convey their lots to DCS while being intimidated into silence by virtue of a settlement

  agreement with exorbitant liquidated damages for merely speaking about the litigation.”

  Plaintiffs’ Motion, p. 22. Mr. and Mrs. Heckenberg are named plaintiffs in this case and

  Mr. Heckenberg is seeking appointment as a class representative. Nevertheless, neither

  Mr. Heckenberg nor Mrs. Heckenberg offered affidavits to support these statements and,

  in fact, neither even joined in filing Plaintiffs’ Motion. Moreover, the Moving Plaintiffs have

  again failed to explain how negotiating a liquidated damages clause in a settlement is

  improper, constitutes a criminal violation, or is a predicate act under the RICO statute.

         The Moving Plaintiffs argue that someone, presumably one or more Defendants,

  “seek[s] to deprive CSBS and the Sheltons of their lots.” Id. Again, there is no evidence

  or even an explanation to support this statement. To the extent this argument is based

  on state court lawsuits “predicated upon false assessments,” id. at p. 18, Mr. Shelton has

  admitted that “issues relating to the club assessments, the POA assessments and the

  amendments to the CC&Rs have been the subject of state court litigation.” James

  Shelton Deposition, 55:23 – 56:2. This is the wrong forum to relitigate those issues, and,

  in any event, there is no evidence of illegal or improper assessments. As discussed

  supra, Judge Singeltary held that the POA’s collection of assessments was proper and

  that the Moving Plaintiffs are liable for failure to pay assessments. See Exhibits A, B.

         The Moving Plaintiffs next argue that they have been subjected to “derogatory

  internet postings and websites created solely for that purpose; including multiple threats



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  of violence.” Plaintiffs’ Motion, p. 22. The Moving Plaintiffs attached numerous exhibits

  to their motion in support of this argument, but none of the exhibits show—or even

  suggest—that any Defendant made a threat of violence or posted a derogatory or false

  comment on the internet.

          Exhibit 9 to Plaintiffs’ Motion provides a list of internet protocol (“IP”) addresses for

  comments posted on pissedconsumer.com. According to Exhibit 9, a user identified as

  Randall Greene with IP address 174.227.5.137 posted one review. Dkt. 167-9, p. 6.

  There is no evidence, however, of what the review stated or that any other reviews or

  comments were made by Randall Greene or his associated IP address. Id. See also

  Dkt. 167-1, p. 1. The Moving Plaintiffs argue that “Defendant Randall Greene and the

  DCS Defendants coached and controlled the individuals who posted these comments

  and their lawyers crafted language to utilize in their posts,” Plaintiffs’ Motion, p. 8, but

  there is no evidence to support this argument.6 Similarly, the Moving Plaintiffs cite to

  comments in Exhibits 2-7, 10, and 13 and argue that the comments are fraudulent and

  “posted under the direction of Defendant Greene.” Plaintiffs’ Motion, pp. 5-6, 8-9. The

  evidence does not support these arguments, the comments do not mention Randall

  Greene, and there is no evidence of who posted the comments. See Dkt. 167-2 – 167-

  7, 167-10, 167-13.

          Exhibits 8, 11, 12, and 14 are identified as being posted by the owner and

  developer of Bella Collina and/or Randall Greene, but none of these posts contain threats

  of violence, derogatory statements, or false statements. Exhibits 8 and 14 are posts about

  the status of this lawsuit and an apology letter received by former plaintiffs, Bart and


  6
   Any argument that the undersigned had anything to do with online posts related to Plaintiffs’ counsel is
  absurd and is not—and cannot—be supported by evidence.

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  Kathryn Sutherin. Dkt. 167-8, 167-14. These posts are accurate summaries of the status

  of this litigation and under no circumstances could be construed as a threat to commit a

  crime of violence pursuant to 18 U.S.C. § 1959(a). Similarly, Exhibits 11 and 12 merely

  thank owners of Bella Collina for their support. Dkt. 167-11, 167-12.

         Finally, the Moving Plaintiffs argue that they have received anonymous mailings,

  text messages, and phone calls regarding this case. The Moving Plaintiffs have not

  offered any evidence to support a finding that any of these communications were sent by

  any of the Defendants. For example, the Moving Plaintiffs represent that mail was placed

  in mailboxes of current Plaintiffs, Brad and Lana Heckenberg, and former Plaintiffs, Bart

  and Kathryn Sutherin, “by persons other than postal employees.” Plaintiffs’ Motion, p. 11.

  Nevertheless, the Moving Plaintiffs have not produced the documents at issue or provided

  affidavit evidence to support that mail was received, when it was received, the content of

  the mail, or who delivered the mail.

         The Moving Plaintiffs argue that anonymous internet postings constitute threats of

  violence, but there is no evidence of an actual threat of violence, that any Defendant

  made a threat, or that any Defendant posted anything on the internet other than (1) an

  apology letter, (2) a factual summary of this case, or (3) notes of appreciation for support

  from Bella Collina property owners.

         In short, the Moving Plaintiffs have not provided any evidence to show a substantial

  likelihood of establishing a predicate act, that multiple predicate acts were related to one

  another, or that criminal conduct is of a continuing nature. The Moving Plaintiffs therefore

  cannot show a substantial likelihood of success on the merits of their RICO claims.




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                c.     The Moving Plaintiffs have not established irreparable injury
                       absent an injunction, that the threatened injury outweighs
                       damage the proposed injunction may cause, or that the
                       injunction would not be adverse to the public interest

         As discussed supra, the Moving Plaintiffs, as the parties seeking entry of a

  preliminary injunction, must establish “that irreparable injury will be suffered unless the

  injunction issues,” “the threatened injury to the movant outweighs whatever damage the

  proposed injunction may cause the opposing party,” and “if issued, the injunction would

  not be adverse to the public interest.” Four Seasons Hotels & Resorts, B.V., 320 F.3d at

  1210. The Moving Plaintiffs have not carried their burden.

         “A showing of irreparable injury is ‘the sine qua non of injunctive relief.’” Siegel,

  234 F.3d at 1176 (quoting Northeastern Fla. Chapter of the Ass'n of Gen. Contractors v.

  City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990)) (internal quotations omitted).

  “[T]he asserted irreparable injury ‘must be neither remote nor speculative, but actual and

  imminent.’” Id. (quoting City of Jacksonville, 896 F.2d at 1285).

         The Moving Plaintiffs claim irreparable harm due to the POA allegedly writing off

  bad debt. Plaintiffs’ Motion, p. 19. The Moving Plaintiffs cannot establish irreparable

  injury because there is no evidence that the POA will write off debt in the future, and there

  is no threat of future, imminent injury when, according to the Moving Plaintiffs, the debt

  has already been written off.       There is also nothing illegal or improper about an

  association writing off bad debt.

         The Moving Plaintiffs further argue that injury “is actual, imminent and ongoing

  (e.g. website posting that assassinate the character of [Plaintiffs’ counsel] while

  simultaneously commenting on the merits of a case that has yet to move beyond the

  ‘motion to dismiss phase’; anonymous mailings to intimidate continue to be received by

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  Plaintiffs).” Plaintiffs’ Motion, p. 23 (emphasis omitted). As discussed supra, there is no

  evidence that any Defendant made a threat of violence, “assassinate[d] the character” of

  Plaintiffs’ counsel, or made anonymous mailings, phone calls, or texts. Moreover, there

  is nothing improper about “commenting on the merits of [this] case.” This case has no

  merit, and the Moving Plaintiffs have not—and cannot—demonstrate irreparable harm.

  The Moving Plaintiffs also cannot establish, and they have not offered any evidence to

  establish, that any threatened harm outweighs the harm to Defendants or that an

  injunction would not be adverse to the public interest.

                                            CONCLUSION

         The Moving Plaintiffs, CSBS and Mr. Shelton, seek relief from this Court that is

  both extraordinary and drastic, and they have done so without a scintilla of evidence of

  wrongdoing by any of the Defendants. Notably, despite seeking appointment as class

  representatives, Mr. Shelton and Mr. Choo7 could not even muster support from a majority

  of the named plaintiffs to join in their motion. This is telling, especially considering all of

  the named plaintiffs are represented by the same counsel.

         For the reasons discussed supra, the POA Defendants respectfully request the

  Court deny Plaintiffs’ Motion for Preliminary Injunction and abstain from exercising

  jurisdiction over this case pursuant to the Younger abstention doctrine. In the alternative,

  the POA Defendants respectfully request the Court deny Plaintiffs’ Motion because the

  Moving Plaintiffs have not stated a cause of action for RICO, the motion fails to comply

  with the Local Rules, and the motion fails to establish any of the elements necessary for

  the Court to enter a preliminary injunction.


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   Mr. Choo is not a named plaintiff and improperly seeks to be named a class representative on behalf of
  CSBS. See Dkt. 148.

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         Dated this 28th Day of December 2017.



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                                          Lebreux


                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 28th day of December, 2017, a true and correct

  copy of the foregoing was filed with the Clerk of Court using the CM/ECF system, which

  will send an electronic notice to all authorized CM/ECF filers, including those listed below.

                                                /s/ Jeffrey M. Partlow
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